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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ____________________________________
                                      :
 HANNAH BACHISM and                   :
 JOSEPH RUPPRECHT,                    :
                                      :   CIVIL ACTION
                         Plaintiffs,  :
                                      :   No. 22-____________
                v.                    :
                                      :   JURY TRIAL DEMANDED
 SOUTHEASTERN PENNSYLVANIA            :
 TRANSIT AUTHORITY and                :
 MATTHEW SINKIEWICZ,                  :
                                      :
                         Defendants.
 ____________________________________

                                          COMPLAINT

I.     INTRODUCTION

       1.       On May 30, 2020, during a peaceful protest against police brutality, Southeastern

Pennsylvania Transit Authority (“SEPTA”) Police officer Matthew Sinkiewicz attacked

plaintiffs Hannah Bachism and Joseph Rupprecht, striking them on their heads with a baton and

causing significant wounds. They had done nothing to provoke these assaults.

       2.       At the time they were assaulted, Bachism and Rupprecht were participating in the

widespread, peaceful demonstrations against police violence in Philadelphia, which emerged as

part of the larger movement against police misconduct and racism proliferating throughout the

country at the time.

       3.       As a result of defendant Sinkiewicz’s conduct, and as a result of defendant

SEPTA’s failure to train, supervise, and discipline Sinkiewicz, plaintiffs have suffered

substantial harms and losses, including physical pain and suffering and emotional trauma.
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Bachism and Rupprecht bring this action asserting claims under 42 U.S.C. § 1983 to hold the

defendants accountable for the egregious violations of their civil rights.

II.    JURISDICTION AND VENUE

       4.       This Court has jurisdiction over the subject matter of this Complaint under 42

U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), 1343(a)(4), and 1367(a).

       5.       This Court is the proper venue pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to the claims occurred in the Eastern District of Pennsylvania.

III.   PARTIES

       6.       Plaintiff Hannah Bachism is a 22-year-old Temple University graduate and

resident of Philadelphia, Pennsylvania.

       7.       Plaintiff Joseph Rupprecht is a 26-year-old editor, researcher, poet, and resident

of Philadelphia, Pennsylvania.

       8.       Defendant Southeastern Pennsylvania Transportation Authority (“SEPTA”) is a

governmental agency that owns, operates, manages, directs, and controls the SEPTA Police

Department, which employed Matthew Sinkiewicz in May 2020.

       9.       Defendant Matthew Sinkiewicz was at all times relevant to this Complaint a

police sergeant employed by SEPTA. He is sued in his individual capacity.

       10.      At all times relevant to this Complaint, all defendants acted under color of state

law. All defendants are jointly and severally responsible for the harms caused to plaintiffs.

IV.    FACTS

       A.       Protest Against Police Brutality in Philadelphia on May 30, 2020

       11.      On May 25, 2020, George Floyd, an unarmed Black man, was killed in

Minneapolis, Minnesota by a police officer who kneeled on his neck for almost nine minutes




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until his death. Several other officers watched while this killing occurred, as Mr. Floyd told the

officers that he could not breathe and pleaded for his life.

       12.     In the days and weeks following the police killing of Mr. Floyd, people across the

United States and the world gathered to protest his death and the larger pattern of police violence

against Black people. Protesters focused on the recent killings of Breonna Taylor and Mr. Floyd,

and also drew attention to the countless other Black people who have been killed by police

officers, the disparate treatment Black people experience in interactions with police, and the

disproportionate funding allocated to police departments compared to other city services in

municipalities across the country.

       13.     Bachism and Rupprecht did not know one another before May 30, 2020. They

were two of the many Philadelphia residents who, inspired by the national movement against

police violence and the tragic death of Mr. Floyd, joined with thousands of other people to attend

a peaceful demonstration on May 30, 2020.

       14.     Protesters, including Bachism and Rupprecht, gathered at the Philadelphia

Museum of Art and marched down the Benjamin Franklin Parkway to City Hall. They then

marched north on Broad Street and eventually gathered outside the Municipal Services Building

(“MSB”) around 4:30pm.

       15.     Bachism and Rupprecht remained at that location for approximately thirty

minutes.

       16.     At that time, several lines of Philadelphia police officers carrying shields and

batons were positioned between protesters and the MSB with more law enforcement officers

continuing to join their ranks.




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       17.       Police personnel from other agencies joined the Philadelphia Police Department

(PPD) officers either as a result of PPD seeking the help of other law enforcement agencies to

assist with its response to the protest or, in the alternative, because officers from other law

enforcement agencies, including SEPTA Police, volunteered to assist.

       18.       SEPTA sergeant Matthew Sinkiewicz was one of the law enforcement officers

stationed in front of the MSB. In contrast to the Philadelphia police officers wearing white or

light blue uniforms surrounding him, defendant Sinkiewicz was dressed in a black uniform.

       19.       As the police formed lines in front of the MSB, Bachism, Rupprecht, and other

protesters continued to peacefully demonstrate, waving signs and chanting slogans in opposition

to police violence.

       20.       Shortly before 5:00pm, the line of law enforcement officers closest to the

protesters, including defendant Sinkiewicz, began charging forward, pushing protesters

backward with metal barricades and shields.

       21.       The police did not make any announcements to disperse or warnings to the crowd

before moving forward into the group of protesters and using force to attempt to remove them

from the area.

       22.       Defendant Sinkiewicz was carrying a baton in his left hand and swinging it at

protesters.

       B.        Defendant Sinkiewicz’s Assault on Hannah Bachism

       23.       As police began to attempt to clear the area in front of MSB with force, defendant

Sinkiewicz pushed Bachism once with his shield.

       24.       Bachism raised a hand to maintain physical distance between their body and

defendant Sinkiewicz.




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        25.      Defendant Sinkiewicz then moved his shield to the side and struck Bachism with

his baton once or twice, hitting Bachism’s head.

        26.      Bachism was dazed from the blow to the head and attempted to get away from

defendant Sinkiewicz as quickly as possible, tripping off the stairs leading up to the MSB and

losing a shoe.

        27.      Bachism ran through the crowd away from the MSB until they were able to get

medical attention from nearby volunteer Emergency Medical Technicians (“EMTs”) who

recommended they go to the hospital.

        28.      At that time, blood was flowing from a gash in Bachism’s head, which had begun

to swell.

        29.      Bachism was able to locate a friend who drove them to Temple Hospital.

        30.      Once at the hospital, Bachism was treated for a traumatic head injury and scalp

laceration. Temple Hospital medical staff used Bachism’s hair and surgical glue to close the two-

inch head wound.

        31.      For many months after the assault, Bachism experienced extreme sensitivity at the

site of their injury.

        32.      Bachism has also suffered psychological effects of the incident including fear of

participating in subsequent protests and increased anxiety.

        C.       Defendant Sinkiewicz’s Assault on Joseph Rupprecht

        33.      As law enforcement officers, including defendant Sinkiewicz advanced on the

crowd of protesters, a protester standing near Rupprecht was hit by a police shield. Rupprecht

caught the other protester before he hit the ground and then attempted to prevent the shield from

striking anyone else.




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        34.    Defendant Sinkiewicz lunged forward toward Rupprecht and violently struck him

on the head with his baton.

        35.    Rupprecht immediately collapsed to the ground from the force of the blow to his

head.

        36.    He began bleeding profusely from his head wound and after extricating himself

from the crowd, he sought out the assistance of medical personnel.

        37.    Volunteer EMTs evaluated his injuries and applied bandages and pressure to his

head wound. One volunteer EMT drove Rupprecht to the Jefferson Hospital Emergency Room

for further medical treatment out of concern for the extent of his injuries.

        38.    Once at the hospital, Rupprecht was treated for a head injury and scalp laceration

and was diagnosed with a concussion. He required ten staples to close his head wound and

hospital staff performed a CT scan to evaluate for potential brain injuries.

        39.    In the weeks that followed, Rupprecht experienced painful migraines and eye

floaters as a result of the concussion he sustained. The eye floaters lasted over six months,

disrupting Rupprecht’s vision and causing him concern about long-term damage.

        40.    Rupprecht also experienced psychological trauma responses to the assault

including depression, hopelessness, anxiety, and fear, especially in the presence of law

enforcement.

        D.     SEPTA’s Responsibility for Bachism and Rupprecht’s Harms and Losses

        41.    The unlawful conduct of defendant Sinkiewicz and the harms suffered by

Bachism and Rupprecht are directly attributable to the affirmative decisions by policymakers of

SEPTA and the failures to act on the part of those policymakers with deliberate indifference to

the risk that such failures would lead to the violation of civilians’ constitutional rights.




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               i.     The Failure to Train SEPTA Police and the Pattern of SEPTA Police
                      Officers Use of Excessive Force

       42.     SEPTA has a long history of failing to address a pattern of excessive force by its

officers and has failed to provide adequate training to prevent the types of assaults that Bachism

and Rupprecht sustained from occurring.

       43.     In the years preceding defendant Sinkiewicz’s actions on May 30, 2020, there

were numerous well-publicized incidents in which SEPTA police brutalized civilians in the

course of their duties, including the following examples:

                      a. Plaintiff Richard Schafferman, in civil action no. 2:15-cv-03731,

                          alleged that in July 2013, two SEPTA officers arrested him without

                          justification, punched him, kicked him, and struck him in the head

                          with a baton. His civil case against SEPTA settled in 2016.1

                      b. In June 2015, SEPTA’s internal affairs unit investigated an officer for

                          grabbing a man by the throat and throwing him against the wall of the

                          subway train while the man was holding his infant daughter. SEPTA

                          Police Chief Thomas Nestel took public responsibility for the incident

                          claiming that it was “a failure on [his] part” that the officer believed

                          this level of force was appropriate in response to an allegation of fare

                          evasion.2 The officer was not fired.




1
  Lacey McLaughlin, Man sues SEPTA police over alleged civil rights violation, PENNSYLVANIA
RECORD (July 17, 2015), available at: https://pennrecord.com/stories/510627203-man-sues-
septa-police-over-alleged-civil-rights-violation (last accessed May 12, 2022).
2
  Vince Lattanzio, Dad Holding Daughter Arrested for Evading El Fare, But Questions Remain
Over Use of Force, NBC PHILADELPHIA (June 26, 2015), available at:
https://www.nbcphiladelphia.com/news/national-international/septa-talks-about-caught-on-
video-arrest-that-went-viral/62632/ (last accessed May 11, 2022).

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                      c. A man died in SEPTA police custody in October 2015 after a SEPTA

                          police officer tased him ten times in two minutes and failed to take

                          him to the nearest hospital. The officer was returned to active duty a

                          few months later.3

                      d. In April 2018, two SEPTA officers were arrested and charged for a

                          December 2017 incident in which they beat a man on the subway

                          platform of the Frankford Transportation Center, leaving the man with

                          a broken nose and a concussion.4

                      e. In January 2019, SEPTA officers pepper sprayed and beat homeless

                          people with batons in their efforts to force them to leave Suburban

                          Station on a below-freezing night, drawing criticism and concern from

                          community members and homeless advocacy organizations.5

       44.     SEPTA had been aware of the likelihood of such conduct for decades. For

example, in 2001, Eastern District of Pennsylvania Judge James McGirr Kelly issued a

Memorandum Opinion regarding a wrongful death claim against SEPTA police cautioning

against SEPTA’s failure to train. Judge Kelly noted that “the Court is disturbed by SEPTA’s

careless attitude towards the training of its officers” and warned that “SEPTA should not wait



3
  Associated Press, Death of Man Hit by Stun-Gun on SEPTA Tracks Was Drug-Related: Report,
NBC PHILADELPHIA (March 7, 2016), available at:
https://www.nbcphiladelphia.com/news/local/man-tased-by-police-on-septa-tracks-died-of-
overdose-investigators/157505/ (last accessed May 12, 2022).
4
  Mensah M. Dean, Two ex-SEPTA cops charged with beating man at Frankford station,
PHILADELPHIA INQUIRER (April 12, 2018), available at:
https://www.inquirer.com/philly/news/septa-cops-charged-beating-man-frankford-station-
20180412.html (last accessed May 11, 2022).
5
  Jason Laughlin, SEPTA police used pepper spray, batons on homeless people in Philly, THE
MORNING CALL (Feb 8, 2019), available at: https://www.mcall.com/news/breaking/mc-nws-
septa-homeless-clash-20190208-story.html (last accessed May 12, 2022).

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until the next fatal shooting to better train its police force.” Davis v. SEPTA, 2001 U.S. Dist.

LEXIS 21116 at *23 (E.D. Pa. Dec 20, 2001).

        45.     Given this documented history of excessive force and warnings issued by the

community and courts, by May 2020, SEPTA leadership knew and understood that SEPTA

officers needed additional training and discipline to prevent further instances of excessive force.

Despite that knowledge, SEPTA, with deliberate indifference, failed to implement appropriate

measures to curb officer violence.

                ii.    The Failure to Train, Supervise, and Discipline Defendant Sinkiewicz

        46.     For years prior to his May 30, 2020, assaults on Bachism and Rupprecht, SEPTA

was aware that defendant Sinkiewicz had a history of using excessive and unreasonable force

against civilians.

        47.     In June 2016, a disturbing video of defendant Sinkiewicz was widely circulated

on social media, depicting him slamming a handcuffed man to the ground and threatening

bystanders who were recording the incident.6

        48.     In addition to the assault on the detained man, defendant Sinkiewicz attempted to

evade accountability by failing to record the victim’s conduct that led to the interaction, in

violation of SEPTA’s body camera policy.

        49.     Despite SEPTA’s awareness of this incident and SEPTA Transit Police Chief

Thomas Nestel III’s characterization of defendant Sinkiewicz’s conduct as “unacceptable,”

defendant Sinkiewicz was permitted to maintain his position as a SEPTA Police officer.




6
 Olivia Exstrum, SEPTA cop, seen in video roughing up man, keeps job, THE PHILADELPHIA
INQUIRER (July 1, 2016), available at:
https://www.inquirer.com/philly/news/20160702_SEPTA_cop_seen_in_video_roughing_up_ma
n_keeps_job.html (last accessed May 11, 2022).

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       50.     Notwithstanding the knowledge of SEPTA’s highest-ranking officers that

defendant Sinkiewicz had engaged in violent misconduct, in 2019, SEPTA promoted defendant

Sinkiewicz to the rank of sergeant.

       51.     In promoting defendant Sinkiewicz, SEPTA communicated to its officers not only

that it would tolerate such misconduct, but also that it would reward misconduct with a position

providing more pay and responsibility.

       52.     Despite his history of excessive force, SEPTA deployed Sinkiewicz to assist

Philadelphia police officers with crowd control at the MSB on May 30, 2020, a highly charged

situation that placed him in direct contact with civilians and resulted in the instant assaults.

       53.     Defendant Sinkiewicz remained on the SEPTA Police force as a sergeant until his

position was terminated in July 2020 as a result of his assaults on Bachism and Rupprecht and

his misrepresentations in official paperwork regarding the assaults.7

       54.     In October 2020, defendant Sinkiewicz was arrested and charged with two counts

of aggravated assault, simple assault, recklessly endangering another person, unsworn falsifying

and official oppression in relation to his assault on Bachism and Rupprecht and his related

conduct outside the MSB on May 30, 2020. The Philadelphia District Attorney’s Office is still

pursuing those charges.

       E.      The Violations of Plaintiffs Bachism and Rupprecht’s Constitutional Rights
               and their Damages

       55.     There was no legal cause to justify the uses of force deployed against Bachism

and Rupprecht on May 30, 2020.



7
  Patricia Madej and Oona Goodin-Smith, Former SEPTA police sergeant charged with assault
for alleged violence during Black Lives Matter protests, THE PHILADELPHIA INQUIRER (October
22, 2020), available at: https://www.inquirer.com/news/septa-police-protest-arrest-george-floyd-
philadelphia-20201022.html (last accessed May 11, 2022).

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        56.     At no time did either Bachism or Rupprecht commit any offense in violation of

the laws of the City of Philadelphia, the Commonwealth of Pennsylvania, or the United States,

and there was no legal cause to justify defendant Sinkiewicz’s use of force against them.

        57.     Bachism and Rupprecht, neither of whom carried weapons, posed no threats to

themselves, to their fellow protesters, or to the police officers who were outfitted in tactical gear

and carrying protective shields and weapons.

        58.     When defendant Sinkiewicz used force against Bachism and Rupprecht, they

were engaged in protected political speech, and defendant Sinkiewicz used force against them in

retaliation for their political speech.

        59.     At all times relevant to this Complaint, the conduct of defendant Sinkiewicz was

willful, reckless, and in callous disregard of Bachism and Rupprecht’s rights under federal and

state law.

        60.     As a direct and proximate result of the conduct of defendants, Bachism and

Rupprecht suffered and continue to suffer physical harm and emotional trauma.

V.      CAUSES OF ACTION

                                                   Count 1
                                     Plaintiffs v. Defendant Sinkiewicz
                                           Unlawful Use of Force

        61.     The actions of defendant Sinkiewicz violated Bachism and Rupprecht’s rights

under the Fourth and Fourteenth Amendments to the United States Constitution to be free from

the unreasonable use of force.




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                                                 Count 2
                                   Plaintiffs v. Defendant Sinkiewicz
                                  Retaliation Against Protected Speech

       62.     Defendant Sinkiewicz used force against Bachism and Rupprecht in retaliation for

their engaging in protected political speech, and as such, violated their rights to freedom of

speech under the First and Fourteenth Amendments to the United States Constitution.

                                                   Count 3
                                      Plaintiffs v. Defendant SEPTA
                                           Municipal Liability

       63.     The violations of Bachism and Rupprecht’s constitutional rights under the First,

Fourth, and Fourteenth Amendments to the United States Constitution, their damages, and the

conduct of defendant Sinkiewicz were directly and proximately caused by the actions and/or

inactions of defendant SEPTA, which encouraged, tolerated, ratified and was deliberately

indifferent to the following policies, practices and customs and to the need for more or different

training, supervision, investigation or discipline in the areas of:

                       a. The accepted practice of SEPTA police officers’ use of excessive force

                           against civilians and the failure to train and discipline officers with

                           deliberate indifference to the obvious consequences of further

                           violations of civilians’ constitutional rights; and

                       b. The failure to discipline, train, or properly monitor the actions of

                           defendant Sinkiewicz given his prior, well-publicized violation of a

                           civilian’s constitutional rights, as well as the decision to promote him

                           to sergeant given his prior conduct.




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                                                Count 4
                                  Plaintiffs v. Defendant Sinkiewicz
                                           State Law Claims

       64.    The actions of defendant Sinkiewicz on May 30, 2020, constitute the torts of

assault and battery under the laws of the Commonwealth of Pennsylvania.

VI.    REQUESTED RELIEF

       Wherefore, plaintiffs Bachism and Rupprecht respectfully request:

       A.     Compensatory damages as to all defendants;

       B.     Punitive damages as to defendant Sinkiewicz

       C.     Reasonable attorneys’ fees and costs as to all defendants;

       D.     Such other and further relief as may appear just and appropriate.

       Plaintiffs hereby demand a jury trial.



                                                     Respectfully submitted,

                                                     /s/ Jonathan H. Feinberg
                                                     Jonathan H. Feinberg
                                                     Attorney No. 88227

                                                     /s/ Grace Harris
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